      Case 2:22-bk-16301-BR Doc 122 Filed 08/18/23 Entered 08/18/23 07:37:14                                           Desc
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                                        United States Bankruptcy Court
                                          Central District of California
                                       255 East Temple Street, Los Angeles, CA 90012

    NOTICE OF DISMISSAL WITH RESTRICTION AGAINST DEBTOR'S RE−FILING

    DEBTOR(S) INFORMATION:                                                BANKRUPTCY NO. 2:22−bk−16301−BR
    Purifying Systems, Inc.                                               CHAPTER 11
    SSN: N/A
    EIN: 32−0409017
    1709 West Garvey #7
    Alhambra, CA 91803




You are notified that an order was entered DISMISSING the above−captioned case with a prohibition against the refiling of
another bankruptcy petition by or against the debtor for 180 days from the date this order is entered.
Any discharge entered in this case is hereby vacated in its entirety.
The Court retains jurisdiction on all issues involving sanctions, any bar against being a debtor in bankruptcy, all issues arising
under Bankruptcy Code §§ 105, 109(g), 110, 329, 349, and 362, and to any additional extent provided by law.




                                                                                 For The Court,
Dated: August 18, 2023                                                           Kathleen J. Campbell
                                                                                 Clerk of Court




Form ndwr Rev. 06/2017                                                                                                     122 / SF
